22 F.3d 1105NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.
    In re Daniel M. TIMMERMAN, Daniel A. Claeys and Wilhelmus Janssens
    No. 93-1512.
    United States Court of Appeals, Federal Circuit.
    March 23, 1994.
    
      On Appeal from the United States Patent and Trademark Office Board of Patent Appeals and Interferences, in Case No. 07/437,766.
      PTO
      AFFIRMED.
      (NEWMAN and PLAGER, Circuit Judges, and COHN, District Judge*).
      Judgment
      PER CURIAM.
    
    
      1
      AFFIRMED.  See Fed.Cir.R. 36.
    
    
      
        *
         The Honorable Avern Cohn, United States District Court for the Eastern District of Michigan, sitting by designation
      
    
    